Case 1:14-cv-01611-LO-JFA Document 706 Filed 12/03/15 Page 1 of 4 PageID# 18997



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 BMG RIGHTS MANAGEMENT (US) LLC, and                    )
 ROUND HILL MUSIC LP,                                   )
                                                        )
                            Plaintiff,                  )   Case No. 1:14-cv-1611 (LOG/JFA)
                                                        )
        v.                                              )
                                                        )
 COX ENTERPRISES, INC., COX                             )
 COMMUNICATIONS, INC., and                              )
 COXCOM, LLC,                                           )
                                                        )
                            Defendants.
                                                        )


                   COX’S SUPPLEMENTAL BRIEFING REGARDING
                EVIDENTIARY OBJECTIONS TO RIGHTSCORP NOTICES


        As the Court requested during proceedings on December 2, 2015, Cox respectfully

 submits further briefing on the issue of its evidentiary objections to Rightscorp’s notices.

        As the Court correctly observed, Rightscorp’s notices to Cox on behalf of BMG are not

 evidence of “infringement”; they are accusations. But as BMG’s opening statement and the start

 of Ms. Frederiksen-Cross’s examination made clear, BMG now hopes to rely on Rightscorp

 notices to prove the truth of those mere accusations: that the accusations in the notices were true,

 and that there was “infringement.” The notices are not competent evidence of that ultimate legal

 conclusion, and introducing them for that purpose violates the hearsay rule. Fed. R. Evid. 801(c)

 (hearsay is an out-of-court statement offered for the truth of the matter asserted).

        BMG cannot overcome this objection with the business records exception under Rule

 803(6). That Rightscorp chose to use computers to generate millions of emails with

 infringement accusations does not make those accusations reliable, nor does it make them a
Case 1:14-cv-01611-LO-JFA Document 706 Filed 12/03/15 Page 2 of 4 PageID# 18998



 record of “regularly conducted activity.” Indeed, because Rightscorp sent these notices to

 demand settlement payments (and while planning to use them in this litigation) they lack the

 reliability that might otherwise accompany actual business records. See Certain Underwriters at

 Lloyd's, London v. Sinkovich, 232 F.3d 200, 205 (4th Cir. 2000) (noting that reports do not fall

 within the business records exception when prepared with knowledge that an incident could

 result in litigation).

         Nor is it an excuse that some Rightscorp notices will likely be introduced for other

 purposes, such as showing that Rightscorp sent notices to Cox and that they included settlement

 demands. That the notices are admissible for other purposes does not solve the hearsay problem,

 because evidence can be hearsay when introduced for some purposes and non-hearsay for others.

 Fed. R. Evid. 801. The notices are not admissible to prove the proof of the statements they

 contain. Fed. R. Evid. 802.

         A simple limiting instruction under Rule 105 can address this issue. Fed. R. Evid. 105

 (the court, on timely request, must restrict evidence to its proper scope and instruct the jury

 accordingly.) Cox proposes the following limiting instruction:

                  During this case you will see documents and hear testimony about
                  Rightscorp notices that make statements about “infringement.” However,
                  those notices are not evidence of infringement. Before you deliberate, I
                  will instruct you on the legal elements you should consider in determining
                  whether or not infringement occurred.

 Dated: December 3, 2015                               Respectfully submitted,

                                                       /s/ Craig C. Reilly
                                                       Craig C. Reilly VSB # 20942
                                                       111 Oronoco Street
                                                       Alexandria, Virginia 22314
                                                       TEL: (703) 549-5354
                                                       FAX: (703) 549-5355
                                                       E-MAIL: craig.reilly@ccreillylaw.com
                                                       Counsel for Defendants


                                                   2
Case 1:14-cv-01611-LO-JFA Document 706 Filed 12/03/15 Page 3 of 4 PageID# 18999




 Of Counsel for Defendants
 Andrew P. Bridges (pro hac vice)
 David L. Hayes (pro hac vice)
 Jedediah Wakefield (pro hac vice)
 Guinevere L. Jobson (pro hac vice)
 Fenwick & West LLP
 555 California Street, 12th Floor
 San Francisco, CA 94104
 Tel: (415) 875-2300
 Fax: (415) 281-1350
 Email: abridges@fenwick.com
          gjobson@fenwick.com
 Brian D. Buckley (pro hac vice)
 Fenwick & West LLP
 1191 2nd Avenue, 10th Floor
 Seattle, WA 98101
 Tel: (206) 389-4510
 Fax: (206) 389-4511
 Email: bbuckley@fenwick.com
 Armen N. Nercessian (pro hac vice)
 Ronnie Solomon (pro hac vice)
 Ciara Mittan (pro hac vice)
 Nicholas A. Plassaras (pro hac vice)
 Fenwick & West LLP
 801 California Street
 Mountain View, CA 94041
 Tel: (650) 988-8500
 Fax: (650) 938-5200
 Email: anercessian@fenwick.com
          rsolomon@fenwick.com
          cmittan@fenwick.com
          nplassaras@fenwick.com




                                        3
Case 1:14-cv-01611-LO-JFA Document 706 Filed 12/03/15 Page 4 of 4 PageID# 19000



                                CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2015, the foregoing document was filed and served

 electronically by the Court’s CM/ECF system upon all registered users:



                                                    /s/ Craig C. Reilly
                                                    Craig C. Reilly, Esq. (VSB # 20942)
                                                    111 Oronoco Street
                                                    Alexandria, Virginia 22314
                                                    TEL: (703) 549-5354
                                                    FAX: (703) 549-5355
                                                    E-MAIL: craig.reilly@ccreillylaw.com

                                                    Counsel for Defendants




                                                4
